Case 2 19 em 00108 UA Document 1 Filed 01/25/19 Page 1 of 1 Page |D # 1

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE TO DISTRICT COURT OF RELATED CR]lVIINAL DUTY F]LING

Number of culrent Criminal Duty Filing. CR M1sc

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Title(s) of document(S) making up current criminal duty iiling:
EX Palte Application for Order Appointing Commissioner Exhiblt [Proposed] Order

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-~4 Y~ S:;
The United States of America hereby informs the Court that the above-referenced crinnnal duty§ilmg-
(Check all that apply andprovz`a'e appropriate information).' § 13
a) l§(does not relate to any previously filed criminal duty matters § §§
b) 1:1 relates to the following criminal duty matte1(s) previously filed and assigned g

(provide case number (s) and assignedjudge¢s) for all lelatea’ criminal duly matte)s) §

 

 

 

c) l:| relates to the following indictment(s) previously filed and assigned
@zrovia'e case number(s) and assigned judge(s) for all related pendzng mdzclmenfs)

There 1s a part1cular reason th1s cr1m1nal duty matter should be assigned to a judge asslgned e1ther a
related cr1minal duty matter or a related indictment listed above Explain

Respectfully submitted

DATED: J'§muary 25, 2019 \A- \\ j/K >
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5 concurrently for t ' same matter are considered cue cr1m1nal duty fillng for purposes of `
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011-15 (05/08)

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